                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

DIANE KROPF, and JOSEPH KROPF,                       )
                                                     )
                 Plaintiffs,                         )
                                                     )
        v.                                           )       Case No. 12-cv-00389-SRB
                                                     )
JOHNSON & JOHNSON, et al.,                           )
                                                     )
                 Defendants.                         )

                                             ORDER

        Before the Court is the parties’ Stipulation and Joint Motion to Transfer Venue. (Doc.

#23.) For good cause shown, and for the reasons stated by the parties, the motion is GRANTED.

Pursuant to 28 U.S.C. § 1404(a), this case is hereby transferred to the United States District

Court for the Eastern District of Virginia, Richmond Division. Defendants’ Unopposed Motion

to Transfer Pleadings from Multidistrict Litigation Docket to Remand Docket (Doc. #15) is

DENIED WITHOUT PREJUDICE, and is subject to refiling with the Eastern District of Virginia

after this case is transferred.

        IT IS SO ORDERED.


                                                     /s/ Stephen R. Bough
                                                     STEPHEN R. BOUGH
                                                     UNITED STATES DISTRICT JUDGE
Dated: October 2, 2020




             Case 4:12-cv-00389-SRB Document 24 Filed 10/02/20 Page 1 of 1
